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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



   ELPIDIO ENRIQUEZ,

          Petitioner,

   -vs-                                                      Case No. 8:02-CR-370-T-30MSS
                                                                      8:05-CV-94-T-30MAP

   UNITED STATES OF AMERICA,

        Respondent.
   ____________________________/

                                              ORDER

          This cause is before the Court on Petitioner’s Motion for Reconsideration of

   Petitioner’s Motion 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence (CV Dkt.

   11). The Court entered its decision denying Petitioner’s § 2255 motion on July 13, 2005,

   (CV Dkt. 9). Petitioner fails to cite any legal authority for his request that the Court

   reconsider its decision denying his § 2255 motion. Since Petitioner's motion was executed

   on July 31, 2005, it must be considered pursuant to Fed. R. Civ. P. 60(b).

          Having reviewed the motion, the Court concludes that consideration thereof is not

   barred by the Supreme Court’s holding in Gonzalez v. Crosby, __ U.S. __, 125 S.Ct. 2641,

   2648 (2005) (finding that a motion for relief from judgment challenging only the district

   court's prior ruling that a habeas petition was time-barred was not the equivalent of a

   second or successive habeas petition).

          The purpose of Rule 60(b) is to define the circumstances under which a party may

   obtain relief from a final judgment. "It should be construed in order to do substantial justice

   . . . , but this does not mean that final judgments should be lightly reopened." See e.g.
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   Griffin v. Swim-Tech Corp., 722 F.2d 677, 680 (11th Cir. 1984) (citations omitted) (stating

   "[t]he desirability for order and predictability in the judicial process speaks for caution in the

   reopening of judgments.") Motions under this rule are directed to the sound discretion of

   the district court. Id.

           Petitioner asserts that he is entitled to equitable tolling of the one-year limitation

   period applicable to § 2255 motions because he submitted the motion prior to the expiration

   of the limitation period, albeit to the wrong court.1 In support of this argument, Petitioner

   cites Fed. R. App. P. 4(d)2 (“If a notice of appeal in either a civil or a criminal case is

   mistakenly filed in the court of appeals, the clerk of that court must note on the notice the

   date when it was received and send it to the district clerk. The notice is then considered

   filed in the district court on the date so noted.”). These proceedings are governed by the

   Rules Governing Section 2255 Proceedings (2005). Moreover, the Federal Rules of

   Appellate Procedure are “prescribed . . . to govern the procedure in appeals to the United

   States courts of appeals from the United States district courts.” Order of the Supreme

   Court of the United States Adopting and Amending Rules, ¶ 1 (Dec. 4, 1967). Petitioner

   does not cite, and the Court is unaware of any rule which required the Supreme Court to

   follow the procedures set forth in Rule 4(d), Fed. R. App. P. See Rules of the Supreme

   Court of the United States (1999).




           1
            The § 2255 motion (CV Dkt. 1) and the Request for Mandatory Judicial Notice attached thereto were
   executed on December 6, 2004 (CV Dkt. 2). Petitioner mailed the documents to the United States Supreme
   Court, where they were received on December 14, 2004 (CV Dkt. 2). The documents were returned to
   Petitioner, and he mailed them to this Court on January 18, 2005. See CV Dkt. 1, envelope attached thereto.
   Given the circumstances, the Court considers Petitioner’s § 2255 motion filed on the date it was postmarked.
           2
               Petitioner cites Fed. R. App. P. 4(b), but quotes subsection (d) in his motion (CV Dkt. 11 at 2-3).

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            To be entitled to equitable tolling, a petitioner must demonstrate that extraordinary

   circumstances beyond his control and unavoidable with due diligence prevented him from

   timely filing his § 2255 motion. Petitioner cannot successfully contend that the mistake he

   made in mailing his petition to the wrong court meets this criteria. Petitioner’s lack of

   diligence in mailing his petition resulted in the delay in placing his motion before this Court

   before the limitations period expired.

            Having reviewed the arguments presented in Petitioner’s motion, the Court finds that

   he presents no factual or legal basis for the Court to reconsider its order finding that his §

   2255 motion is barred by the one-year limitations period.

            ACCORDINGLY, the Court ORDERS that Petitioner’s Motion for Reconsideration

   of Petitioner’s Motion 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence (CV Dkt.

   11) is DENIED.

            DONE and ORDERED in Tampa, Florida on August 31, 2005.




   Copy furnished to:
   Pro Se Petitioner/Parties of Record

   SA:jsh




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